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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS                  2U19   NOV -8   AN   II:   12
                                 AUSTIN DIVISION

JON1 UTAUS-BB DOE, AND                        §
JON4 UTAUS-SA DOE                             §
        PLAINTIFFS,                           §
v.                                            §
                                                   CAUSE NO. 1:19-CV-398-LY
                                              §
THE UNIVERSITY OF TEXAS AT                    §
AUSTIN,                                       §
        DEFENDANT.                            §


                                    FINAL JUDGMENT

       Before the court is the above-styled and numbered cause.       On this date, the court

rendered an order dismissing this cause. As nothing remains to resolve, the court renders the

following Final Judgment pursuant to Federal Rule of Civil Procedure 58.

       IT IS ORDERED that the Defendant is awarded costs.

       IT IS FURTHER ORDERED that the case is hereby CLOSED.

       SIGNED this               day of November, 2019.




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